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                                            EXHIBIT A
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NOT FOR PUBLICATION

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                 CAMDEN VICINAGE

                                                   :
 Michael CARROW, Michael FENNELL, and              :
 Nicholas STEFANOU, individually and on            :
 behalf of all others similarly situated,          :           Civil No. 16-3026 (RBK/JS)
                                                   :
                    Plaintiffs,                    :           ORDER
            v.                                     :
                                                   :
 FEDEX GROUND PACKAGE SYSTEMS,                     :
 INC.,                                             :
                                                   :
                    Defendant.                     :
                                                   :

KUGLER, United States District Judge:

        THIS MATTER having come before the Court on Plaintiffs Michael Carrow, Michael

Fennell, and Nicholas Stefanou’s Renewed Motion for Class Certification under Federal Rule of

Civil Procedure 23 (Doc. No. 98); and for the reasons expressed in the accompanying Opinion of

this date

        IT IS HEREBY ORDERED that Plaintiffs’ motion for class certification is GRANTED

as to the following class under Federal Rule of Civil Procedure 23(b)(3):

            1. All persons who: 1) entered into a FedEx Ground or Home Delivery
               Operating Agreement, either personally or through a corporate entity; 2)
               drove a vehicle on a full-time basis to provide package pick-up and delivery
               services pursuant to the Operating Agreement in any week from April 13,
               2010 to June 1, 2017 (“the Class Period”); 3) were dispatched out of a
               terminal in the state of New Jersey; and 4) who first signed an Operating
               Agreement after October 15, 2007, or excluded themselves from the
               certified class in Tofaute v. FedEx Ground Package System, Inc., No. 05-
               595 (N.D. Ind).

            2. “Full-time basis” means thirty or more hours.
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       IT IS FURTHER ORDERED that Michael Carrow, Michael Fennell, and Nicholas

Stefanou are appointed class representatives, and Anthony L. Marchetti, Jr., Harold Lichten, and

Matthew W. Thomson are appointed class counsel; and

       THE COURT NOTING that by its September 30, 2019 Letter Order (Doc. No. 119), the

Court administratively terminated Defendant’s Motion for Partial Summary Judgment (Doc. No.

107) and Plaintiffs’ Motion to Modify the Briefing Schedule (Doc. No. 113), pending the

resolution of Plaintiffs’ Motion for Class Certification; and

       THE COURTING NOTING that Plaintiffs have filed an Opposition to Defendant’s

Motion for Partial Summary Judgment (Doc. No. 115); and now that the Court has decided

Plaintiffs’ Motion for Class Certification

       IT IS HEREBY ORDERED that the Clerk of Court shall ADMINISTRATIVELY

REACTIVATE Defendant’s Motion for Partial Summary Judgment (Doc. No. 107) and

Plaintiffs’ Motion to Modify the Briefing Schedule (Doc. No. 113); and that Defendant’s Motion

for Summary Judgment shall be reset for a motion day of February 3, 2020, such that Defendant

may file its Reply on or before January 27, 2020; and that Plaintiffs have leave to file a cross-

motion for summary judgment on or before January 27, 2020; and

       IT IS FURTHER ORDERED that Plaintiffs’ Motion to Modify the Briefing Schedule

(Doc. No. 113) is DENIED as moot.



Dated: December 26, 2019                                        /s/ Robert B. Kugler
                                                                ROBERT B. KUGLER
                                                                United States District Judge
